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                        IN THE UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF MISSOURI

In re:                                          )
                                                )        Case No.: 20-41042-399
         ROSS, RICHARD GLENNON                  )        Chapter 7 -- Liquidation
         ROSS, JOAN AUDRY                       )
                                                )
                                debtor(s)       )

         TRUSTEE’S REPORT OF NO DISTRIBUTION- AD HOC NO FUNDS



          I, Fredrich J. Cruse, having been appointed trustee of the estate of the above-named
debtor(s), report that I have neither received any property nor paid any money on account of this
estate; that I have made a diligent inquiry into the financial affairs of the debtor(s) and the location
of the property belonging to the estate; and that there is no property available for distribution from
the estate over and above that exempted by law except for the Swango, et al. V. Innovative Energy,
et al. law suit. Pursuant to Fed R Bank P 5009, I hereby certify that the estate of the above-named
debtor(s) has been fully administered. I request that I be discharged from any further duties as
trustee.



Dated:July 29, 2020                             /S/Fredrich J. Cruse
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